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                    IN THE UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF ARKANSAS
                              WESTERN DIVISION


UNITED STATES OF AMERICA

      vs.                  CASE NO. 4:07cr00317-16 JMM

EDGAR HERNANDEZ CRUZ, USM #25368-009



               CORRECTED AMENDED JUDGMENT & COMMITMENT


      Due to a clerical error, the judgment (DE #764) is amended to show that the correct

Offense Ended date is July 22, 2008.

      The remaining portions of the Judgment will remain in full force and effect.

      The Clerk is directed to provide a copy of this order to the United States Probation

Office and the United States Marshals Office.

      IT IS SO ORDERED this 23rd day of April, 2010.



                                         UNITED STATES DISTRICT JUDGE
